        8:06-cr-00271-LSC-TDT   Doc STATES
                            UNITED  # 182 Filed: 05/11/07
                                           DISTRICT       Page 1 of 1 - Page ID # 668
                                                       COURT
                                 DISTRICT OF NEBRASKA
Gary D. McFarland                OFFICE OF THE CLERK
Clerk of Court                          111 S. 18th Plaza, Suite 1152                            Lincoln Office:
                                          Omaha, Nebraska 68102-1322                           P. O. Box 83468
Denise M. Lucks                         402-661-7350                           Lincoln, NE 68501-3468
Chief Deputy Clerk                          Fax 402-661-7387                                      402-437-5225
                                                                                             Fax 402-437-5651

        TO:           The Honorable Judge Smith Camp

        FROM:         Clerk, U.S. District Court
                      Mary Roundtree

        DATE          May 3, 2007

        SUBJECT:      8:06cr271 USA vs Rosa Maria Flores-Tapia

        A party, who has already been permitted to proceed in forma pauperis or who is financially
        unable to obtain adequate defense in a criminal case, has filed a Notice of Appeal.
        Pursuant to the second paragraph of FRAP 24(a), a party may proceed on appeal in forma
        pauperis without further authorization unless the district judge certifies that the appeal is
        not taken in good faith or finds that the party is otherwise not entitled to proceed on appeal
        in forma pauperis. The district judge shall state in writing the reasons for such a
        certification or finding.

        In order for the Clerk’s office to process this appeal, please advise our office how you
        intend to proceed:

                 X    No order will be entered in this direct criminal appeal, and the party is
                      permitted to proceed on appeal in forma pauperis.
                      An order will be entered finding that the party is not entitled to proceed in
                      forma pauperis.
                      An order will be entered, and the party is permitted to proceed on appeal in
                      forma pauperis.
                      An order will be entered in this § 2254 or § 2255 case regarding Certificate
                      of Appealability.


        Dated this 10th day of May, 2007.

                                                                  S/ Laurie Smith Camp
                                                                  United States District Judge

                     Additional Requirement for State Habeas or 2255 Cases
        Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
        district judge who rendered the judgment shall either issue a certificate of appealability or
        state the reasons why such a certificate should not be issued.

        Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court
        rules on the in forma pauperis status and the certificate of appealability.


        Last update: 7/30/02                                            k:\clerk\proc\appeals\forms\ifp.wpd
